         Case 1:09-vv-00221-UNJ Document 111 Filed 01/08/16 Page 1 of 2




    In the United States Court of Federal Claims
                            OFFICE OF SPECIAL MASTERS
                                         No. 09-221V
                                    Filed: January 8, 2016

* * * * * * * * * * * * * * * *
D.B.,                                        *            UNPUBLISHED
                                             *
             Petitioner,                     *            Special Master Hamilton-Fieldman
                                             *
v.                                           *            Attorneys’ Fees and Costs;
                                             *            Reasonable Amount Requested to
SECRETARY OF HEALTH                          *            Which Respondent Does Not Object.
AND HUMAN SERVICES,                          *
                                             *
             Respondent.                     *
* * * * * * * * * * * * * * * *
Diane C. Cooper, Bruce G. Clark & Associates, P.C., for Petitioner.
Alexis Babcock, United States Department of Justice, Washington, D.C., for Respondent.

                                         DECISION 1

        On April 14, 2009, D.B. (“Petitioner”) filed a petition pursuant to the National Vaccine
Injury Compensation Program. 2 42 U.S.C. §§ 300aa-1 to -34 (2006). On January 9, 2014, the
undersigned issued a decision dismissing the petition, and on January 14, 2014, judgment entered
on the dismissal.

        On January 12, 2015, the above captioned-counsel entered her appearance on behalf of
Petitioner, and on January 13, 2015, Petitioner filed a motion to vacate the judgment. The
undersigned denied Petitioner’s motion on September 4, 2015.

       On December 21, 2015, the parties filed a Stipulation of Facts Regarding Final
Attorneys’ Fees and Costs. Pursuant to their Stipulation, the parties have agreed to an award of
$14,000.00 in attorneys’ fees and costs. In accordance with General Order Number 9, the parties
represent that Petitioner has not personally incurred any costs during the time that Ms. Cooper
has represented her.

1
 This decision was originally filed on December 21, 2015. In the reissued decision, Petitioner’s
name is, at her request, replaced with her initials; the remainder of the decision is unchanged.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2012) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


                                               1
           Case 1:09-vv-00221-UNJ Document 111 Filed 01/08/16 Page 2 of 2



         The undersigned finds that the motion to vacate judgment was brought in good faith and
that there existed a reasonable basis for filing it. Therefore, an award for fees and costs is
appropriate, pursuant to 42 U.S.C. § 300aa-15(b) and (e)(1). Further, the proposed amount
seems reasonable and appropriate. Accordingly, the undersigned hereby awards the amount
of $14,000.00, in the form of a check made payable jointly to Petitioner and Petitioner’s
counsel, Diane C. Cooper, of the law firm of Bruce G. Clark & Associates, P.C.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 3

       IT IS SO ORDERED.

                                             s/ Lisa Hamilton-Fieldman
                                             Lisa Hamilton-Fieldman
                                             Special Master




       3
          Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint
filing of notice renouncing the right to seek review.


                                                 2
